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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 21-cr-00120-KBJ
               v.                            :
                                             :
SCOTT KEVIN FAIRLAMB                 :
                                             :
                      Defendant.             :


     JOINT MOTION TO CONTINUE DEADLINE FOR DEFENDANT’S RESPONSE TO
           GOVERNMENT’S MEMORANDUM IN SUPPORT OF DETENTION

       The United States of America hereby moves this Court for a modification of its detention

briefing schedule. On March 15, 2021, this Court issued a minute order directing the

Government to file its brief in support of detention by March 18, 2021 and the Defendant to file

his response by March 23, 2021. On March 17, 2021, the government filed its Memorandum in

Support of Pretrial Detention. ECF 18.

       On March 22, 2021, the undersigned spoke with Attorney Harley Breite who stated that

he has been retained by defendant Scott Fairlamb and that he will complete his motion for

admission to the District Court for the District of Columbia by Wednesday, March 24, 2021.

Attorney Harley Breite stated that defendant Scott Fairlamb will not consent to be represented by

any other attorney and requested that the government seek to extend the briefing schedule to

allow for Attorney Harley Breite to make his notice of appearance in this case. Attorney Harley

Breite has requested that the deadline for the Defendant’s response be moved to March 30, 2021.
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       WHEREFORE, the United States requests this Court modify its briefing schedule and

order the defendant’s response to the government’s Memorandum in Support of Detention be

filed by March 30, 2021.


Dated: March 22, 2021


                                          Respectfully submitted,

                                          CHANNING D. PHILLIPS
                                          Acting United States Attorney




                                   By:
                                          LESLIE A. GOEMAAT
                                          MA Bar No. 676695
                                          Assistant United States Attorney
                                          Fraud Section
                                          U.S. Attorney’s Office
                                          555 4th Street, N.W., Room 5840
                                          Washington, D.C. 20530
                                          Office: 202-803-1608
                                          Leslie.Goemaat@usdoj.gov




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                                  CERTIFICATE        OF   SERVICE

        I H ER EB Y CE RTI FY that I have caused a copy of the foregoing notice to be served by
electronic means, through the Court’s CM/ECF system, upon all parties of record.

                                              /s/ Leslie A. Goemaat
                                              L ESLIE A. G OEMAAT
                                              Assistant United States Attorney




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